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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LEVI STRAUSS & CO.,
                                                     Case No. 18-cv-05405
                       Plaintiff,
       v.                                            Judge Andrea R. Wood

2014SHOES, et al.,                                   Magistrate Judge Jeffrey Cole

                       Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Levi Strauss

& Co. (“LS&Co.”), hereby dismisses this action with prejudice against the following Defendant:

              Defendant Name                                      Line No.
                   Geek                                              68

Dated this 14th day of June 2019.                  Respectfully submitted,

                                                   /s/ RiKaleigh C. Johnson
                                                   Amy C. Ziegler
                                                   Justin R. Gaudio
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